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                                                                                                     Transmittal Number: 19554580
Notice of Service of Process                                                                            Date Processed: 03/26/2019

Primary Contact:           Bruce Buttaro
                           Liberty Mutual Insurance Company
                           175 Berkeley Street
                           Boston, MA 02116

Entity:                                       Liberty Mutual Insurance Company
                                              Entity ID Number 1765547
Entity Served:                                Liberty Mutual Insurance Company
Title of Action:                              Julie A. Bernell vs. Liberty Mutual Insurance Company
Document(s) Type:                             Citation/Petition
Nature of Action:                             Contract
Court/Agency:                                 Harris County District Court, TX
Case/Reference No:                            2019-19289
Jurisdiction Served:                          Texas
Date Served on CSC:                           03/25/2019
Answer or Appearance Due:                     10:00 am Monday next following the expiration of 20 days after service
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Robert C. Lane
                                              713-595-8200

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constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




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